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 1                                                                      Hon. Benjamin H. Settle
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 7                                  UNITED STATES DISTRICT COURT
                                   WESTERN DISTRICT OF WASHINGTON
 8                                           AT TACOMA
 9   ALLEN TAYLOR,                                Case No. 3:19-cv-05086 BHS

10                               Plaintiff,       DEFENDANT ALORE, LLC’S REPLY IN
                                                  SUPPORT OF MOTION FOR
11           v.                                   JUDGMENT ON THE PLEADINGS
12   ALORE, LLC,

13                               Defendant.

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     REPLY IN SUPPORT OF MOTION FOR                         VAN KAMPEN & CROWE PLLC
     JUDGMENT ON THE PLEADINGS                                1001 Fourth Avenue, Suite 4050
     Case No. 3:19-cv-05086-BHS                               Seattle, Washington 98154-1000
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 1             Plaintiff Allen Taylor’s Opposition (“Plaintiff”) to Defendant Alore, LLC (“Alore”)’s

 2   motion for judgment on the pleadings, which exclusively contests Plaintiff’s Second Cause of

 3   Action under Washington’s Consumer Protection Act (“CPA”), rests on two key arguments.

 4   Neither provides a plausible basis to sustain his CPA claim.

 5             First, Plaintiff argues that his proposed Fourth Cause of Action under Washington’s

 6   Dialing and Announcing Device Act (“WADAD”)—which Plaintiff did not plead in the

 7   operative Complaint and has not yet been provided the Court’s leave to assert—salvages his

 8   CPA claim. Alore does not dispute that if Plaintiff pleads a sustainable claim under WADAD,

 9   his CPA claim necessarily survives; however, Plaintiff’s proposed WADAD claim cannot

10   proceed because of the FCC’s 2012 TCPA Order that prescription refill requests and medical

11   supply renewal requests are not unsolicited advertisements, and thus they are outside the scope

12   of WADAD. The FCC’s guidance should be followed by this Court in the absence of contrary

13   guidance from Washington courts. See Chesbro v. Best Buy Stores, L.P., 705 F.3d 913, 919 (9th

14   Cir. 2012). Further, as Plaintiff does not dispute in his Reply supporting his Motion for Leave to

15   Amend1 (“Motion for Leave”), a WADAD claim requires that a “conversation” take place2, and

16   thus Plaintiff’s allegations of being “bombarded by prerecorded telemarketing robocalls and
17   automated prerecorded voicemails” are not relevant. RCW 80.36.400(1); see Docket No. 27,
18   Pl.’s Opp’n, at 3:1–2.
19             Second, Plaintiff contends that he meets all five elements of a CPA claim as enumerated

20   by Hangman Ridge Training Stables, Inc. v. Safeco Title Ins. Co., 105 Wash. 2d 778, 780 (Wash.
21   1986). However, a simple review of the Complaint and Proposed First Amended Complaint
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23   1
         Plaintiff’s nine-page reply (Docket No. 27) violates LCR 7(e)(4)’s six-page limit.
24
     2
       Plaintiff’s proposed Fifth Cause of Action under the Washington Do Not Call Statute
25   (“WDNC”), suffers from the same defect in that it requires a conversation. RCW 80.36.390(1).
     For his WDNC claim, Plaintiff further did not contest that the statute only applies to residential
26
     telephones, not cellular telephones.
27
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 1   shows that Plaintiff does not plead the CPA’s requisite elements, and his Opposition does not

 2   provide any legitimate grounds for sustaining this claim. As all Washington federal district

 3   courts evaluating similar allegations underlying a CPA claim have ruled, alleged telephonic

 4   solicitations do not provide grounds for such a claim. There is no basis for departing from that

 5   line of reasoning here. Because Plaintiff’s CPA claim cannot survive on its own, the absence of a

 6   viable WADAD claim dooms his CPA as well.

 7   I.      RELEVANT FACTUAL ALLEGATIONS
 8           Alore is a health care supplier that provides prescription medical supplies, such as

 9   diabetes testing products, to patients. See Docket No. 1, Compl. ¶¶ 8, 14, 24; Docket No. 21-2,

10   Proposed Am. Compl. (“FAC”) ¶¶ 10, 16, 31. Plaintiff admits that he was an Alore customer,

11   and that all Alore health care-related products were free of charge to him as a Medicare

12   beneficiary. Compl. ¶¶ 14, 18; FAC ¶¶ 16–17.3 Despite acknowledging that he ordered “so many

13   deliveries” of Alore’s products, Plaintiff attempts to impugn Alore’s business practices by stating
14   that he could “never use them all” and thus concludes, without any evidence, that Alore has
15   perpetrated Medicare fraud because of products that he and others ordered. FAC ¶¶ 16–18; see
16   FED. R. CIV. P. 9(b).
17           Plaintiff is now suing Alore based on claims that he received improper telephonic
18   “solicitations” to reorder its diabetic testing supplies. Compl. ¶¶ 13–27; FAC ¶¶ 15–35. After
19   originally claiming that Alore contacted him 150 times without his prior express consent, he has

20   since reduced that alleged number to 50. Compl. ¶ 23; FAC ¶ 30; see also Docket No. 21, Pl.’s
21   Mot. for Leave, at 2:9–14. Contradicting himself, Plaintiff alleges that there “was no ‘opt-out’
22   option given” in these calls from Alore, but also that he “revoked consent” at least ten times.
23   Pl.’s Opp’n, at 8:2–11.
24

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     3
       Despite conceding that he never had to pay for Alore products, Plaintiff nonsensically alleges
26   that Alore contacted him “to collect on an alleged debt” in both iterations of the Complaint.
27   Compl. ¶ 37; FAC ¶ 46.

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 1   II.     PROCEDURAL HISTORY
 2           Based on these allegedly unauthorized calls, Plaintiff initially asserted three counts

 3   against Alore in his original Complaint: (1) Violation of the TCPA, (2) Violation of the CPA,

 4   and (3) Intrusion Upon Seclusion.4 Compl. ¶¶ 28–38. On June 10, 2019, Plaintiff moved for

 5   leave to amend his Complaint to assert additional counts for violation of WADAD and WDNC,

 6   both Washington state law claims. Plaintiff claims that the basis for this amendment was his

 7   learning of “additional new facts” regarding Alore contacting him with “prerecorded

 8   telemarketing messages.” Mot. for Leave, at 2:14–19; but see Rahn v. Bank of Am., No. 1:15-cv-

 9   4485-ODE-JSA, 2016 WL 7335392, at *4 (N.D. Ga. June 24, 2016) (“When one receives a call,

10   it is a clear-cut fact, easily discernible to any lay person, whether or not the recipient is speaking

11   to a live human being, or is instead being subjected to a prerecorded message.”). On June 24,

12   2019, Alore filed both its opposition to Plaintiff’s Motion for Leave because of the

13   inapplicability of Plaintiff’s proposed new claims, and the instant motion for judgment on the

14   pleadings as to the active CPA claim. Docket Nos. 24–25.

15   III.    ARGUMENT
16           A.      Plaintiff Previously Falsely Denied the Existence of His Alore Prescription.
17           Because Plaintiff’s Opposition relies at least in part on the viability of his proposed

18   WADAD claim as basis to sustain his CPA claim, Alore must first address misrepresentations

19   made by Plaintiff in his briefing in support of his Motion for Leave that are contradicted by his

20   factual allegations in the Complaint. In that briefing, Plaintiff not only falsely claimed that he

21   never had a prescription with Alore—which would be dispositive of his proposed WADAD and

22   WDNC claims—but also falsely claimed that Alore was deceiving the Court about it:

23           Although Defendant contends that Alore’s calls requesting Plaintiff to order
             diabetic test strips were “medical supply and prescription refill requests,” in fact,
24
             such test strips are sold over the counter without a prescription and Plaintiff has
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26   4
      This motion only relates to Plaintiff’s CPA count, but that Alore does not challenge the other
27   two counts at the pleadings stage does not imply that Alore concedes liability thereunder.

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 1           never had a prescription for them. Defendant’s claim it was calling to request
             “prescription refills” misleads the Court.
 2

 3   Docket No. 26, Pl.’s Reply in Support of Mot. for Leave, at 7:10–13 (emphasis added).5

 4           Although ordinarily the Court must defer to Plaintiff’s averments on a Rule 12 motion, it

 5   has no such obligation when the averments are contradicted by facts subject to judicial notice or

 6   “pleaded” for the first time in opposition to a Rule 12 motion. Sprewell v. Golden State Warriors,

 7   266 F.3d 979, 988 (9th Cir. 2001) (“The court need not, however, accept as true allegations that

 8   contradict matters properly subject to judicial notice . . .”); Pinales v. Quality Loan Serv. Corp.,

 9   No. 09cv1884 L(AJB), 2010 WL 3749427, at *1 (S.D. Cal. Sept. 22, 2010) (“In determining the

10   propriety of a Rule 12(b)(6) [or 12(c)] dismissal, a court may not look beyond the complaint for

11   additional facts, e.g., facts presented in plaintiff’s memorandum in opposition to a defendant’s

12   motion . . .”). Both apply here.

13           Whether Alore’s test strips “are sold over the counter without a prescription” is irrelevant

14   where Plaintiff concedes that he ordered them at no charge through Alore and Medicare. See

15   Compl. ¶¶ 14, 18; FAC ¶¶ 16–17. These concessions are key to the analysis, because any

16   diabetic testing supplies covered by Medicare require a prescription. Def.’s Req. for J. Notice, ¶

17   1, Ex. A, at 2. The Center for Medicare and Medicaid Services confirms that “Medicare will only

18   cover a beneficiary’s blood glucose self-testing equipment and supplies if they get a prescription

19   from their doctor.” Id. Additionally, “[a] beneficiary who needs blood glucose testing equipment

20   and/or supplies . . . [c]an order [his] supplies from a medical equipment supplier, but they will

21   need a prescription from their doctor to place their order.” Id. Fortunately, Plaintiff appears to

22   have abandoned this false line of argument in his Opposition to the instant motion. See, e.g., Pl.’s

23   Opp’n, at 12:14–18.

24
     5
25     Immediately after receipt of Plaintiff’s Reply in support of his MLA, Alore’s counsel advised
     Plaintiff’s counsel that these representations were false. Since then, Alore offered to provide
26   further proof of the prescription to Plaintiff’s counsel through informal discovery once Plaintiff
27   executes a HIPAA authorization, but Plaintiff has yet to do so.

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 1           B.      Plaintiff’s Proposed WADAD Claim Cannot Salvage His CPA Claim.
 2           In addition to the “conversation” requirement in WADAD (see Def.’s Opp’n to Mot. for

 3   Leave, at 5:18–6:2, 6 n.4), Plaintiff’s proposed WADAD claim also cannot survive if the calls he

 4   received did not constitute telemarketing. See RCW 80.36.400(2). Because there is no

 5   Washington case law defining a “commercial solicitation” or “telephonic solicitation,” Ninth

 6   Circuit courts should look to federal authorities’ interpretation of what constitutes telemarketing,

 7   including FCC orders and regulations promulgated under the TCPA, for guidance. Chesbro v.

 8   Best Buy Stores, L.P., 705 F.3d 913, 919 (9th Cir. 2012) (“The definition of ‘telephone

 9   solicitation’ [in WDNC] is nearly identical to that of ‘commercial solicitation’ [in WADAD]. We

10   have no guidance from the Washington courts on how Washington interprets these provisions.

11   The text of the WADAD is substantially similar to its federal counterpart, as is its purpose. We

12   therefore apply the same reasoning [as the FCC and associated federal case law] . . .”). Here, the

13   FCC’s 2012 TCPA Order concluded that calls subject to HIPAA, including medical supply

14   renewal and prescription refill requests, “are intended to communicate health care-related

15   information rather than to offer property, goods, or services and . . . are not unsolicited

16   advertisements.” Rules and Regulations Implementing the Tel. Consumer Prot. Act of 1991, CG

17   Docket No. 02-278, Report and Order, 27 FCC Rcd 1830, 1854 ¶ 57, 1855 ¶ 63 (2012) (“2012

18   TCPA Order”); see 45 C.F.R. § 160.103 (“Health care”); 45 C.F.R. § 164.501 (“Marketing”).

19                   i.          Alore Is Not Relying on the FCC’s 2015 Health Care Exemption.
20           Whereas Alore’s position relies upon the FCC’s 2012 TCPA Order, it is baffling that
21   Plaintiff spends ample real estate in his opposition discussing the FCC’s 2015 Exigent

22   Healthcare Treatment Exemption.6 Pl.’s Opp’n, at 6:14–7:2, 12:5–14:15. Alore, however, is not
23   arguing that this exemption—which would remove the calls from the purview of the TCPA—

24   applies to its calls and makes no reference to the FCC’s 2015 TCPA Order in its briefing as to
25
     6
      Plaintiff incorrectly claims that this exemption is “codified” at 47 U.S.C. § 227(b)(2)(C). Pl.’s
26   Opp’n, at 6:14–15. Section 227(b)(2)(C) is the statutory authority for the FCC to issue rules or
27   orders creating such exemptions, but the exemptions themselves are not found in the U.S. Code.

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 1   either motion. Alore’s position that its calls cannot be considered telemarketing derives from the

 2   FCC’s 2012 Health Care Rule, which provides an exception for calls subject to HIPAA such as

 3   medical supply renewal and prescription refill requests. Def.’s Opp’n to Mot. for Leave, at 4:14–

 4   5:10. Plaintiff’s briefing conflates the two exemptions (see Pl.’s Reply in Support of Mot. for

 5   Leave, at 7:17–8:11) and he wastes considerable paper focusing on the 2015 exemption in

 6   opposition to the instant motion, but the Court need not expend resources evaluating Plaintiff’s

 7   attacks on an argument that Alore is not making.

 8                   ii.         Under the FCC’s 2012 Rule, Alore’s Calls Are Not Telemarketing.
 9           As discussed in its opposition to Plaintiff’s Motion for Leave, Alore is relying upon the

10   FCC’s 2012 exception to the telemarketing definition for health care calls subject to HIPAA such

11   as “medical supply renewal requests” and prescription renewal requests. See 2012 TCPA Order,

12   at 1854 ¶ 57, 1855 ¶ 63; 45 C.F.R. § 160.103 (“Health care”); 45 C.F.R. § 164.501

13   (“Marketing”). Not once in Plaintiff’s opposition to the instant motion or his reply in support of

14   his Motion for Leave does he dispute that Alore’s calls constitute medical supply renewal

15   requests. Further, as previously discussed, Plaintiff cannot as a matter of law contend that

16   Alore’s calls did not constitute prescription renewal requests, which would contradict facts

17   pleaded in his Complaint and those subject to judicial notice.

18           Plaintiff’s position that Alore does not constitute a “business associate” under HIPAA is

19   absurd on its face. Under HIPAA, a “business associate” is a person or entity that performs

20   certain functions or activities that involve the use or disclosure of protected health information

21   on behalf of, or provides services to, a covered entity. 45 C.F.R. § 160.103 (“Business

22   associate”). The covered entity here is Medicare, a health plan, under which Alore operates

23   pursuant to Plaintiff’s prescription. See id. (“Covered entity” & “Health plan”); Compl. ¶¶ 14, 18;

24   FAC ¶¶ 16–17. Plaintiff cites no authority suggesting that revoking consent to be called under

25   the TCPA somehow also eliminates an entity’s designation as a business associate and its

26   associated responsibilities under HIPAA.

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 1                   iii.        Case Law Quoted by Plaintiff Supports Alore’s Position.
 2           Plaintiff’s analyses of the Second Circuit’s decision in Latner v. Mount Sinai Health

 3   System, 879 F.3d 52 (2d Cir. 2018), as well as district court decisions in Jackson v. Safeway, Inc.,

 4   No. 15-cv-04419-JSC, 2016 WL 5907917 (N.D. Cal. Oct. 11, 2016) and Coleman v. Rite Aid of

 5   Georgia, Inc., 284 F. Supp. 3d 1343 (N.D. Ga. 2018), bolster rather than detract from Alore’s

 6   point. Quoting Latner, Plaintiff notes that calls subject to the 2012 Health Care Rule “are exempt

 7   from . . . the written consent requirement but are still covered by the [TCPA’s] general consent

 8   requirement.” Pl.’s Opp’n, at 8:17–19. That is exactly the point; the relevant standard for these

 9   calls is prior express consent (i.e., the TCPA’s standard for non-telemarketing calls, 47 U.S.C. §

10   227(b)(1)(A)(iii)), not prior express written consent (i.e., the TCPA’s standard for telemarketing

11   calls, 47 C.F.R. § 64.1200(a)(2)). See also Compl. ¶ 29; FAC ¶ 37. There is no dispute that

12   Plaintiff provided prior express consent when he voluntarily provided his phone number to Alore

13   when ordering diabetic test strips; Plaintiff is arguing that such consent was subsequently

14   revoked. Compl. ¶ 13, 20–23, 26; FAC ¶ 15, 19, 25–26, 29–30, 33.

15           For this same reason, Plaintiff’s quotation of the following language from Coleman,

16   which only involved a TCPA claim, is misleading:

17           Accordingly, the Court defers to the FCC’s interpretation that calls excepted by
             the Health Care Rule require prior express consent. Because Coleman avers that
18
             he did not provide any consent to the calls made by Rite Aid, the Health Care
19           Rule does not apply, and dismissal is not warranted on this ground.

20   Pl.’s Opp’n, at 11:10–19. The Coleman decision weighed whether the appropriate consent
21   standard was prior express consent versus no consent requirement at all—language that Plaintiff
22   even quotes in his Opposition. Coleman, 284 F. Supp. 3d at 1347; Pl.’s Opp’n, at 10:18–11:6
23   (“Many courts have found that this provision provides an exemption only from the
24   requirement of prior express written consent, rather than a wholesale exemption from any
25   consent requirement.”). When the Coleman court said that “the Health Care Rule does not
26   apply,” it meant that the exemption did not apply as a wholesale exemption from any consent
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 1   requirement under the TCPA. Coleman did not find that the prior express written consent

 2   standard applied to these calls, and thus Plaintiff’s conclusion that “[t]herefore, Alore’s calls to

 3   Plaintiff were telemarketing calls that squarely violate WADAD . . .” does not logically follow.

 4   See Pl.’s Opp’n, at 10:18–11:21.

 5           That Alore’s calls may have violated the TCPA, in that Plaintiff allegedly revoked “prior

 6   express consent” to be contacted with an automatic telephone dialing system (“ATDS”) or a

 7   prerecorded voice, is irrelevant to whether those calls also constitute telemarketing and thus

 8   implicate WADAD. Neither Latner, Jackson, nor Coleman suggest otherwise.

 9                   iv.         Alore’s Products Were Offered at No Cost to Plaintiff, and Thus
10                               Cannot Be Considered Telemarketing.
11           Even assuming the 2012 Health Care Rule does not settle the issue that these calls are not

12   telemarketing (it does), Plaintiff’s invocation of his proposed WADAD claim to sustain his CPA

13   claim fails for another reason: Alore’s products were offered to him at no charge. In other words,

14   he was not being encouraged to purchase property, goods, or services, because he was not

15   purchasing anything. See 47 C.F.R. § 64.1200(f)(12); Williams v. Nat’l Healthcare Review, No.

16   2:15-cv-0054-RFB-PAL, 2017 WL 4819097 (D. Nev. Oct. 25, 2017). In Williams, the defendant

17   was a health care provider that called to encourage the plaintiff to sign up for Medicaid. Id., at

18   *3. The court noted that “[t]here are two consent standards: (1) prior express written consent and

19   (2) prior express consent. The difference between the two depends on whether the call was a

20   telemarketing call.” Id. at *4. The court found “that the calls at issue here, seeking to encourage

21   enrollment in a government program that provides free or heavily subsidized healthcare does not

22   constitute encouragement of a ‘purchase,’ ‘rental,’ or ‘investment’ of a ‘good, or service.’” Id. at

23   *7. Although the court relied in part upon the 2015 Exigent Healthcare Treatment Exemption,

24   under which Alore is not claiming protection, it also reviewed the plain meaning of “purchase,”

25   “rental,” and “investment” to determine that such calls were not telemarketing in nature. Id. That

26   the caller may ultimately be paid by a party other than the consumer was “immaterial.” Id.

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 1   Similarly, Alore’s calls offering prescription medical supplies at no cost to Plaintiff—because

 2   they are fully paid for by Medicare—also fall outside the ambit of telemarketing, and thus cannot

 3   form the basis of a WADAD claim.

 4           C.      Absent a WADAD Violation, Unsolicited Calls Cannot Sustain a CPA Claim.
 5           Alore does not challenge that a WADAD violation is a per se violation of the CPA under

 6   WADAD’s plain language. RCW 80.36.400(3). However, if Plaintiff’s WADAD claim cannot

 7   be sustained as discussed above, his CPA claim “must establish five distinct elements: (1) unfair

 8   or deceptive act or practice; (2) occurring in trade or commerce; (3) public interest impact; (4)

 9   injury to plaintiff in his or her business or property; [and] (5) causation.” Hangman Ridge

10   Training Stables, Inc. v. Safeco Title Insur. Co., 105 Wash. 2d 778, 780 (1986) (internal

11   quotation marks omitted). Plaintiff must meet all five requirements; the absence of even one

12   element is fatal to his CPA claim.

13           Plaintiff does not identify any of these elements in his Complaint or FAC, let alone plead

14   facts supporting the first, third, fourth, or fifth element of a CPA claim. See Compl. ¶¶ 31–33;

15   FAC ¶¶ 39–42. His FAC only alleges that Alore violated the CPA “by its incessant phone

16   solicitations to Plaintiff without his consent and by deceptively sending him products he did not

17   ask for because Defendant knew Medicare would pay for them.” FAC ¶ 41. Even assuming this

18   is true for purposes of this motion (it is not), it cannot sustain a CPA claim against Alore because

19   (1) unsolicited telemarketing calls are not unfair or deceptive acts under the CPA; (2) Plaintiff

20   cannot show public interest impact; and (3) Plaintiff has no damages to “business or property,”

21   let alone causation tying those damages to the alleged conduct.

22           Plaintiff concedes that Wick and Gragg, both federal district court cases from this

23   jurisdiction, “may be the only cases [that] consider telemarketing CPA claims.” Pl.’s Opp’n, at

24   18:14–15. Both cases support Alore’s position that Plaintiff cannot plead a plausible CPA claim.

25   Wick v. Twilio, Inc., No. C16-00914RSL, 2017 WL 2964855, at *6 (W.D. Wash. July 12, 2017);

26   Gragg v. Orange Cab Co., 942 F. Supp. 2d 1111, 1117–19 (W.D. Wash. 2013).

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 1                   i.          Alleged Telemarketing Calls Are Not Unfair or Deceptive Acts.
 2           In Wick, the court dismissed the plaintiff’s state law CPA claim, noting that “[t]o the

 3   extent plaintiff has alleged that transmitting a solicitation to a cell phone without consent is an

 4   unfair or deceptive act, [he] offers no legal or factual basis for such an assertion.” 2017 WL

 5   2964855, at *6. Plaintiff attempts to distinguish this unequivocal language by noting that the

 6   Wick plaintiff was found to have provided prior express consent (not prior express written

 7   consent) under the TCPA, but this is a distinction without a difference. Pl.’s Opp’n, 17:19–18:7.

 8   The section of Wick upon which Plaintiff relies comes from analysis of which consent standard

 9   to apply for his TCPA claim (i.e., prior express consent vs. prior express written consent), which

10   had no bearing on the viability of his CPA claim. Wick, 2017 WL 2964855, at *5. In analyzing

11   the Wick plaintiff’s CPA claim two sections later, the court was clear that allegations of

12   telephonic solicitations are not unfair or deceptive acts, and thus Plaintiff cannot meet even the

13   first of five required elements for a CPA claim. Id. at *6. Wick provides no qualification that an

14   alleged revocation changes the CPA analysis.

15                   ii.         Plaintiff Cannot Plead a Business/Property Injury or Causation.
16           Two others of the five required elements for a CPA claim are that Plaintiff plead a

17   business or property injury and associated causation. Hangman Ridge, 105 Wash. 2d at 780.

18   Plaintiff does neither. The only injuries Plaintiff pleads as resulting from Alore’s conduct are

19   “stress, frustration, headaches, and emotional and mental anguish”; his proposed FAC adds that

20   Alore’s conduct “tied up his cellular phone and used up his voicemail capacity.” Compl. ¶¶ 26–

21   27; FAC ¶ 33–35. The former are plainly personal injuries, and the latter are not business or

22   property injuries that can sustain a CPA claim. See Gragg, 942 F. Supp. 2d at 1117–19.

23           Plaintiff concedes that Gragg “is the only case that has even addressed [the question of

24   what constitutes injury to one’s property under the CPA] directly in relation to telemarketing.”

25   Pl.’s Opp’n, 19:1–3. This does not, however, imply that there is a “lack of clarity” on the issue

26   just because Plaintiff is unhappy that Gragg undercuts his argument. See id. Gragg rejected the

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 1   plaintiff’s argument that the “loss of use of the full capacities and capabilities” of his cell phone

 2   was a cognizable business or property injury under the CPA. Id. at 1119. Given that this loss of

 3   “capacities and capabilities” is exactly the type of “property injury” that Plaintiff cites, the Court

 4   should follow Gragg and find that “the infinitesimal, fleeting loss of electronic storage space”

 5   cannot sustain his CPA claim.

 6                     iii.      Plaintiff Pleads No Public Interest Impact.
 7           Plaintiff incorrectly claims that Alore’s alleged TCPA violations are a per se showing of

 8   “public interest impact” under the CPA. Pl.’s Opp’n, at 15:15–16:24. For support, Plaintiff

 9   quotes Moritz v. Daniel N. Gordon, P.C., 895 F. Supp. 2d 1097, 1113, which stated, “In certain

10   situations, the public interest element is satisfied per se by a showing of conduct in violation of a

11   statute containing a specific legislative declaration of public interest impact,” citing Hangman

12   Ridge, 105 Wash. 2d at 791. What Hangman Ridge also stated, however, was that “unless there

13   is a ‘specific legislative declaration’ of a public interest, the [CPA’s] public interest requirement .

14   . . is not per se satisfied.” Id. (emphasis added); see also Moritz, 895 F. Supp. 2d at 1113 (finding

15   that the plaintiff’s claim under the Washington Collection Agency Act “does not contain the

16   required declaration of public interest impact”). In other words, the declaration must appear in

17   the law itself.

18           In arguing otherwise, Plaintiff improperly expands the “specific legislative declaration”

19   element to include legislative history. Pl.’s Opp’n, at 16:1–24. There is no support in Hangman

20   Ridge or Washington law for such a broad interpretation. Hangman Ridge cites three specific

21   examples of what constitutes “a specific legislative declaration”: (1) RCW 46.70.005 (“The

22   legislature . . . declares that the distribution and sale of vehicles . . . vitally affects . . . the public

23   interest . . .”); (2) RCW 46.80.005 (public interest in sales of motor vehicle parts); and (3) RCW

24   48.01.030 (public interest in the business of insurance). All three examples are direct statutory

25   language, not isolated remarks from one legislator in a committee report. Plaintiff’s overbroad,

26   unsupported interpretation would render the “public interest impact” requirement a nullity, as

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 1   essentially every statute in existence can be argued by at least some of its enacting legislators to

 2   have a public benefit. Because the TCPA contains no specific legislative declaration of public

 3   interest impact, Plaintiff cannot make the requisite showing, and his CPA claim fails for yet

 4   another reason.

 5   IV.     CONCLUSION
 6           The crux of Plaintiff’s lawsuit is that he alleges receipt of numerous telephone calls using

 7   an ATDS or prerecorded message after he revoked consent for such outreach. Although the

 8   parties disagree on exact numbers, they generally agree that Plaintiff received some number after

 9   he had expressed his desires to not receive further communications. See Docket No. 19, at 3:9–

10   4:15. Plaintiff may seek a statutory remedy for this grievance under the TCPA, which Alore does

11   not contest at the pleadings stage.

12           Alore is sympathetic to this unfortunate situation, and is open to reasonably resolving this

13   dispute, but will not indulge misguided attempts to also claim exorbitant attorney’s fees for

14   additional claims that cannot be sustained as a matter of law. For the foregoing reasons, the

15   Court should grant judgment in Alore’s favor as to Plaintiff’s second cause of action for

16   violation of the Washington Consumer Protection Act, which cannot be sustained as pleaded in

17   either the Complaint or the Proposed First Amended Complaint.

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 1                               Dated this 19th day of July, 2019

 2                                           Respectfully submitted,

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 1                                          Declaration of Service

 2          I hereby certify that on this day, I electronically filed the foregoing with the Clerk of the
     Court using the CM/ECF system, which will send notification of such filing to the following:
 3

 4           Dawn M. McCraw
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 6           Phone: (818) 600-5585
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 8
                             Signed at Seattle, Washington 19th day of July, 2019.
 9
                                                    s/ David E. Crowe
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                                                    David E. Crowe
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